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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                             CASE NO.: 1:02-CR-024-SPM

BRYAN TAYLOR,

           Defendant.
______________________________/

                 ORDER CONTINUING VIOLATION HEARING

      THIS CAUSE comes before the Court upon “Defendant’s Unopposed

Motion to Continue Revocation Hearing” (doc. 399) filed July 26, 2006, in which

defense counsel requests to postpone the hearing until after the State of Florida

makes a decision on whether to file an information on the state charges out of

which the instant case arose. A case management hearing is set in the state

case for August 15, 2006.

      The motion is unopposed by the Government. For good cause shown, it

is

      ORDERED AND ADJUDGED as follows:

      1.     Defendant’s Motion to Continue (doc. 399) is hereby granted.

      2.     The hearing is reset for Tuesday, September 5, 2006 at 1:30pm
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          at the United States Courthouse in Gainesville, Florida.

     DONE AND ORDERED this twenty-seventh day of July, 2006.


                                 s/ Stephan P. Mickle
                              Stephan P. Mickle
                              United States District Judge
